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                                                                             RECEIVED
                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION                                      MAR - 9 2020

BERNADETTE DICKERSON,                     )                                         CLERK
                                                                            U.S. DISTRfCT
                                          )                                                 COURT
                                                                            MIDDLE DIST. OF ALA.
       Plaintiff,                         ) CIVIL ACTION NO.:
                                          ) 01: 0.1D -e.0-(0
vs.                                       )
                                          )
KOCH FOODS,LLC and KOCH                   )
FOODS OF ALABAMA,LLC,                     )   DEMAND FOR JURY TRIAL
                                          )
       Defendants.                        )

                                   COMPLAINT

       Plaintiff Bernadette Dickerson states the following her Complaint against

Defendants Koch Foods, LLC and Koch Foods of Alabama,LLC.

                        I. JURISDICTION AND VENUE

       1.    This Court has jurisdiction pursuant to 28 U.S.C. § 1331, Federal

Question Jurisdiction. Claims are brought herein pursuant to Title VII of the civil

Rights Act of 1964, 42 U.S.C. § 2000e et mi., as amended by the Civil Rights Act

of 1991,42 U.S.C. §1981a(hereinafter Title VII).

       2.    Venue is proper in this judicial district and division pursuant to 28

U.S.C. § 1391 because this is the judicial district and division in which a substantial

part ofthe events or omissions giving rise to the claim occurred.




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       3.     Plaintiff has fulfilled all conditions precedent to the institution of this

action under 28 U.S.C. §§ 1331, 1343(4), and the act of Congress known as Title

VII of the        Civil Rights Act of 1964, as              amended     by the     Civil

Rights Act of 1991. Plaintiff filed a timely charge of discrimination with the Equal

Employment Opportunity Commission, within 180 days of the last discriminatory

act. Plaintiff has timely filed this claim within ninety (90) days of receipt of her

right to sue letter.

                                    II. PARTIES

       4.     Bernadette Dickerson is over the age of nineteen (19) years, and a

resident of Montgomery County, Alabama.

       5.     Koch Foods of Alabama, LLC, is an Alabama Limited Liability

Company that operates a poultry processing plant in Montgomery, Alabama.

       6.     Alternatively, Koch Foods,LLC,a Limited Liability Company with its

principal place of business in Tennessee, owns and operates the poultry processing

plant at which Ms. Dickerson was employed. Or, alternatively, Koch Foods, LLC,

and Koch Foods of Alabama,LLC,jointly operate the poultry processing plan where

Ms. Dickerson was ernployed.

       7.     Koch Foods of Alabama,LLC,and Koch Foods,LLC,are collectively,

jointly, and severally referred to herein as "Koch Foods."



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                                   III. FACTS

      8.     Ms. Dickerson began working at Koch Foods as a grader in April of

2018. She was transferred to the de-bone plant in May of2019.

      9.     Ms. Dickerson was promoted to the position of QA Technician when

she was moved to the de-bone plant.

       10.   From the beginning, Ms. Dickerson was sexually harassed by her

supervisor, Eula Tarver. Ms. Tarver rubbed her breasts against Ms. Dickerson on

more than one occasion, and would make lewd cornrnents to her. Ms. Dickerson

was not the only Koch Foods employee that Ms. Tarver harassed in this fashion.

      11.    Ms. Dickerson confided in her co-worker, Crystal Jones that these

advances were unwelcome. Ms. Jones, told Ms. Tarver what she had said. Ms.

Jones told Ms. Dickerson that Ms. Tarver sexually pursued workers under her, and

that she had a sexual relationship with several people in her department. Moreover

sexual language and inappropriate touching occurred several times a week in Ms.

Dickerson's presence.

      12.    Ms.Tarver stopped sexually touching Ms.Dickerson, but instead began

a process of making life difficult for Ms. Dickerson at work in an attempt to make

her quit. For example, Ms. Tarver made up bogus claims about Ms. Dickerson to

the Koch Foods Human Resources Department in an attempt to have Ms. Dickerson

"written up" and disciplined. She even went so far as to have Ms.Dickerson "written
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up" by the Human Resources department for "a threatening outburst."               Ms.

Dickerson, of course, had never inappropriately acted out at work.

       13.      Ms. Dickerson, because she had complained of sexual harassment to

her supervisor, who was in a relationship with Ms. Jones, who Ms. Dickerson had

originally confided in, was subject to harassment by co-workers, including epithets,

sexually suggestive remarks, threats, uncooperative co-workers, and veiled threats.

       14.      Worse than the harassrnent by her co-workers, Ms. Dickerson was

subject to the same cadre of co-workers telling Koch Human Resources employees

Shenealya Maxwell and Chiquita Patterson, that Ms. Dickerson was being

disruptive, threatening, and not doing her job, all in an attempt to make her quit, or

to get fired.

       15.      Ms. Dickerson even received a written Employee Waming Report.

This report was presented to her by Shenealya Maxwell. Ms.Dickerson told her that

she would not sign the report because none of it was true.

       16.      Other Koch employees, at the urging ofCrystal Brown and Eula Tarver,

continued to harass Ms. Dickerson because she had made a complaint of sexual

harassment. These were employees that Ms. Tarver was in a sexual relationship

with. Moreover, Mr. Brown and Ms. Tarver continued to go to Ms. Maxwell with

fabrications about Ms. Dickerson at work. This occurred many times between

August and early November of 2019.
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       17.   These fabrications hurt Ms. Dickerson in that she was denied a

promotion to the position of Customer Service Specialist. Ms. Dickerson had

applied for the position, but did not get it. When she asked Ms. Maxwell why she

did not get the job, she was told that she was not considered because she had been

"written up," by Ms. Tarver and Ms. Maxwell.

      18.    Ms. Dickerson was called into Ms. Maxwell's office several times due

to bogus complaints by Ms. Jones and Ms. Tarver. Ms. Maxwell said that she would

investigate the complaints, but never did any real sort of investigation.

      19.    Finally, after Chrystal Jones accused Ms. Dickerson of misuse of a cart

used to transport items at the plant, Ms. Maxwell reviewed a video tape of the

incident, and saw clearly that Ms. Dickerson had done nothing wrong, and that Ms.

Brown had fabricated the story. As a result, Ms. Jones was transferred.

      20.    The transfer of Ms. Jones intensified Ms. Dickerson's mistreatment.

      21.    In late August of2019,Ms.Dickerson was sexually harassed by another

Koch Foods employee. Tyrone Brown, one of her co-workers, would continually

make sexual remarks to Ms. Dickerson, asking for sex, and even saying that he

would pay Ms. Dickerson for sexual acts. Ms.Dickerson tried to ignore Mr.Brown,

and then told him respectfully that she was not interested in any sort of sexual

relationship with him. Before the sexual harassment by Mr. Brown, Ms. Dickerson

would occasionally give Mr. Brown a ride home from work. After Mr. Brown's
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sexual comments increased in frequency and in their graphic quality, she stopped

that offering to give Mr. Brown a ride home.

      22.    Ms. Dickerson complained to her Human Resources contact, Ms.

Maxwell, about this sexual harassment. Nothing was done.

      23.    Mr. Brown found out about Ms. Dickerson's complaint, and he

intensified his attacks on her along with the rest ofthe employees in league with Ms.

Tarver, calling her vulgar names and physically pushing with his work cart, trying

to push her down. Ms. Maxwell was even shown a video of at least one of these

incidents, but still nothing was done.

      24.    Ms.Dickerson continued to complain to Human Resources that she was

being sexually harassed, and that the other workers were mistreating her verbally

and physically because she had gone to management with her complaints, but

nothing was done.

      25.    Mr. Brown was terminated in late September, but not because of his

sexual harassment and retaliation against Ms. Dickerson. He was terminated

because he left a thermometer in a chicken carcass.

      26.    The mistreatment and harassment by other workers continued. In

addition to the direct harassment by other workers, they would continually "report"

her to Ms. Maxwell for non-existent "offenses." They made up stories to try to get

Ms. Dickerson fired.
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      27.    Ms. Dickerson had a meeting with Ms. Maxwell and with a more senior

Human Resources person, Nikki Bibb, to try to get some relief. None of it worked,

and the harassment continued, and Ms. Dickerson's complaints about it continued.

      28.    On October 24, 2019, Ms. Dickerson had another meeting with Eula

Tarver, her supervisor, about an "issue" fabricated by others to harass her. In the

course of this meeting, Ms. Dickerson again brought up the sexual harassment that

had continued, and the fact that her co-workers were continually making her life

difficult in retaliation for her complaints about sexual harassment.

      29.    Again, nothing occurred as the result of this meeting. The harassment

continued.

      30.    Finally, in early November,2019, Ms. Maxwell, along with Nikki Bibb

and Michael Gadsberry did do something about the situation. They suspended Ms.

Dickerson.

      31.    When asked by Ms. Dickerson why she was being suspended, Ms.

Maxwell specifically told Ms. Dickerson that the reason they suspended her was

because her complaints about sexual harassment had caused all sorts oftrouble with

the workers there. Then, when Ms. Dickerson asked when she could come back to

work, she was terminated on or about November 18, 2019. In a nutshell, the way

Koch Foods dealt with the problem of sexual harassment was to fire the victim who

had the temerity to report the harassment.
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                                   COUNT I
                (Sexual Harassment and Hostile Work Environment)

        32.   Plaintiff incorporates by reference paragraphs 1-31 above as if set

forth fully herein.

        33.   In taking the above-described actions, Defendant intentionally

discriminated against Plaintiff on the basis of her gender, in violation of Title VII.

Specifically Defendant condones and tolerates sexual harassment. Defendant's

actions created, nurtured, tolerated, condoned, or otherwise permitted a sexually

hostile environment in violation of Title VII.

        34.   The actions of Defendant,through its agents Shenealya Maxwell, Eula

Tarver, Nikki Bibb, Michael Gadsberry, and Bob Elrod were taken with malice, or

reckless indifference to the federally protected rights of Plaintiff.

        35.   Plaintiff has been discriminated and retaliated against by Defendant in

the terms, conditions, and privileges of employment through the creation of and

tolerance of a sexually charged and hostile work environment in violation of Title

VII.

       36.    As stated above, supervision and/or management at Koch Foods

participated in, were aware of, and encouraged and condoned the sexually hostile

work environment.




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      37.    Plaintiff was directly affected by the sexually discriminatory and

harassing practices described in the Complaint.

      38.    Plaintiff made several good faith efforts to oppose the sexual and other

harassment, which was occasioned on her because of her reporting of several

incidents of harassment, and was retaliated against for those good faith efforts by

more harassment, bogus complaints against her, and her ultimate termination. This

was retaliation against Ms. Dickerson due to her protected activities of opposing

sexual discrimination and harassment.

      39.    The unlawful actions of Defendant, as set forth above, constitute a

practice, pattern, custom, or policy of Defendant for allowing acts of sexual

harassment, sexual discrimination and/or retaliation in violation of employees'

federally protected rights.

      40.    The conduct of Ms. Tarver, Mr. Brown,Ms.Jones, and others in league

with them in the workplace, allowed to continue by Defendant, was so severe and

pervasive as to create a sexually hostile work environment for Plaintiff

      41.    Defendant knew, or should have known, about the sexually hostile

environment. Even with this knowledge, Defendant failed to take any prompt and

effective action reasonably calculated to result in the prevention of and/or remedy

of the sexual harassment and discrimination and retaliation aimed at Plaintiff.

      42.    The actions ofDefendant, as set forth herein, violate Title VII.
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      43.    As a result ofthe actions ofDefendant in violation ofTitle VII,Plaintiff

has, and continues to be injured, suffering distress, humiliation, loss of prestige,

mental anguish, emotional pain and suffering. In addition, Plaintiff has suffered

economic loss in that she has been terminated for her reporting of the sexual

harassment in this case.

      44.   Plaintiff has satisfied all administrative prerequisites to bringing her

Title VII claims:

            a.      On or about November 6,2019,Plaintifftimely filed a Charge of
                    Discrimination with the Equal Opportunity Commission,Charge
                    No. 420-2020-03644, against Defendant, which was filed within
                    the 180 days of the commission of the unlawful employrnent
                    practices alleged herein.

            b.      On or about December 3, 2019, Plaintiff filed another timely
                    Charge ofDiscrimination, Charge No.420-2020-00536, with the
                    Equal Employment Opportunity Commission against Defendant,
                    which was filed within 180 days of the commission of the
                    unlawful employment practices alleged herein.

            c.      On or about December 11, 2019, the EEOC issued to Plaintiff a
                    Dismissal and Notice ofRight to Sue letter on her EEOC Charge,
                    number 420-2019-03644.

            d.      On or about January 31, 2020, the EEOC issued to Plaintiff a
                    Dismissal and Notice ofRight to Sue letter on her EEOC Charge,
                    number 420-2020-00536.

            e.      This Complaint has been filed within 90 days of the receipt of
                    notification of Right to Sue from the EEOC as to both charges.

            f.      Defendant s conduct violates Title VII, as amended.

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                                     COUNT II
                                    (Retaliation)

       45.   Plaintiff incorporates by reference, as if fully set forth herein,

paragraphs 1-44 above.

       46.   As stated above, Plaintiff has been intentionally discriminated against

and retaliated against in violation of Title VII and 42 U.S.C. § 1981 by Defendant

for protesting illegal discrimination and sexual and other harassment.

       47.   In taking the above-described actions, Defendant intentionally

discriminated against and retaliated against the Plaintiff for protesting illegal

discrimination. Employees who have not opposed discrimination/sexual harassment

have not been treated in a similar manner as Plaintiff. The actions of Defendant

were taken with malice and reckless indifference to the federally protected rights of

Plaintiff.

       48.   Plaintiff complained about the retaliatory actions ofDefendant, and the

original discriminatory sexual harassment, but Defendant failed to take corrective

action to prevent the retaliation. Defendant's actions were in violation of Title VII.

      49.    As a proximate consequence of Defendant's actions, and the violation

of Title VII, the Plaintiff has suffered, and will continue to suffer, lost income, as

she was ultimately terminated, Ms. Dickerson has suffered mental anguish and

emotional distress, and other injuries and damages.

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      50.    The retaliation against Plaintiff was ongoing and ofa continuous nature

until she was ultimately terminated.

      51.    Plaintiff has satisfied all administrative prerequisites to bring this claim

pursuant to Title VII.



                             PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that this Court assumes

jurisdiction ofthis action and order the following relief:

             a.     Issue a declaratory judgment that the employment policies
                    and practices, working conditions and customs of the
                    Defendant are in violation of the rights of Plaintiff, as
                    secured under Title VII of the Civil Rights Act of 1964, and
                    the 1991 amendments thereto, as well as 42 U.S.C.§ 1881.

             b.     Grant Plaintiff a permanent injunction enjoining
                    Defendant, its agents, successors, employees, attorneys, and
                    those acting in concert with Defendant and at defendant's
                    request from continuing to violate Title VII, as amended and
                    42 U.S.C. § 1981.

             c.     Enter an order requiring Defendant to reinstate Plaintiffto
                    any and all positions from which she was retaliatory and
                    discriminatorily discharged.

             d.     Grant Plaintiff the appropriate amount of backpay,
                    interest, benefits, damages and reinstatement into the job
                    position in which she was discriminatorily discharged, or in the
                    alternative, front pay.




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            e.   Grant Plaintiff an award of punitive and compensatory
                 damages,including but not limited to, an award for mental
                 anguish and emotional distress.

           f.    Award the Plaintiff the costs and expenses, including an award
                 of a reasonable attorney's fee.

           g.    Other such relief as may be appropriate.

                               JURY DEMAND

           Plaintiff reserves her right to and hereby requests a trial by jury.



                                      Respectfully submitted,

                                      /s/ Brian M. Clark f-- 6AAA
                                      Brian Clark
                                      Attorney for Plaintiff

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